         Case 23-41450                         Doc 10              Filed 08/16/23 Entered 08/16/23 23:29:00                                                           Desc Imaged
                                                                  Certificate of Notice Page 1 of 2
Information to identify the case:
Debtor
                  Miller Title, LLC                                                                     EIN:    47−49179793
                  Name

United States Bankruptcy Court           Eastern District of Texas                                       Date case filed for chapter:              7      8/12/23

Case number:23−41450
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                                           10/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                           Miller Title, LLC

2. All other names used in the
   last 8 years
3. Address                                      10185 Custer Rd Ste 300
                                                Plano, TX 75025−7525

4. Debtor's attorney                            Vincent S Lobue                                                              Contact phone 972−695−9444
                                                LoBue Law, PLLC
     Name and address                           101 East Park Blvd, Suite 600                                                Email: vinny@thelobuelaw.com
                                                Plano, TX 75098

5. Bankruptcy trustee                           Mark A. Weisbart                                                             Contact phone 972−755−7103
                                                Chapter 7 Bankruptcy Trustee
     Name and address                           10501 N Central Expy Suite 106                                               Email: mweisbart@haywardfirm.com
                                                Dallas, TX 75231−2203

6. Bankruptcy clerk's office                Suite 300B                                                                       Hours open:
                                            660 North Central Expressway                                                     8:00 − 4:00
     Documents in this case may be          Plano, TX 75074
     filed at this address. You may
     inspect all records filed in this case                                                                                  Contact phone (972)509−1240
     at this office or online at
     https://pacer.uscourts.gov.                                                                                             Date: 8/12/23

7. Meeting of creditors                                                                                                   Location:
     The debtor's representative must
                                                September 15, 2023 at 09:30 AM
     attend the meeting to be                                                                                             Telephonic Dial−In Information,
     questioned under oath. Creditors           The meeting may be continued or adjourned to a later date.                https://www.txeb.uscourts.gov/341info
     may attend, but are not required to        If so, the date will be on the court docket.
     do so.

8. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
     Please do not file a proof of              If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
     claim unless you receive a notice          that you may file a proof of claim and stating the deadline.
     to do so.

9. Creditors with a foreign                     If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                      extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                                any questions about your rights in this case.
NOTICE: Pursuant to L.R.B.P. 6007 the Trustee may announce at this meeting his intention to abandon specific property of the estate having a total value of not more than
$1500.
                                                                                                                                                                             page
Official Form 309C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline
                                                                                                                                                                                1
           Case 23-41450                Doc 10          Filed 08/16/23 Entered 08/16/23 23:29:00                                     Desc Imaged
                                                       Certificate of Notice Page 2 of 2
                                                              United States Bankruptcy Court
                                                                 Eastern District of Texas
In re:                                                                                                                 Case No. 23-41450-btr
Miller Title, LLC                                                                                                      Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0540-4                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Aug 14, 2023                                               Form ID: 309C                                                              Total Noticed: 8
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Aug 16, 2023:
Recip ID                 Recipient Name and Address
db                       Miller Title, LLC, 10185 Custer Rd Ste 300, Plano, TX 75025-7525
8299183                  Jacksonville Realty, c/o Saunders, Walsh & Beard, 6850 TPC Dr Ste 210, Mckinney, TX 75070-3145
8299184                + Miller Texas Properties, 10185 Custer Rd 300, Plano, TX 75025-7525
8299185                + RamQuest Inc, 6111 W. Plano Parkway, Suite 3800, Plano, TX 75093-0019
8299186                + Texan Title Insurance Company, 613 NW Loop 410, Suite 555, San Antonio, TX 78216-5593

TOTAL: 5

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
aty                       Email/Text: vinny@thelobuelaw.com
                                                                                        Aug 14 2023 23:15:00      Vincent S Lobue, LoBue Law, PLLC, 101 East
                                                                                                                  Park Blvd, Suite 600, Plano, TX 75098
tr                        Email/Text: mark.weisbart@txitrustee.com
                                                                                        Aug 14 2023 23:15:00      Mark A. Weisbart, Chapter 7 Bankruptcy Trustee,
                                                                                                                  10501 N Central Expy Suite 106, Dallas, TX
                                                                                                                  75231-2203
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        Aug 14 2023 23:16:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Aug 16, 2023                                            Signature:           /s/Gustava Winters
